     Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 1 of 6 PageID 1




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA

DAVID POSCHMANN,

                 Plaintiff,
v.
                                                       CASE NO.
THE CLUB BAMBOO
CONDOMINIUM ASSOCIATION, INC.,

            Defendant.
_________________________________/

                                           COMPLAINT

         Plaintiff, David Poschmann, by and through his undersigned counsel, hereby sues the

Defendant, The Club Bamboo Condominium Association, Inc., for injunctive relief pursuant to

the Americans With Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support

thereof states as follows:

                                          JURISDICTION

            1.   This court has subject-matter jurisdiction since this action arises pursuant to 28

U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42 U.S.C. §12181 et seq. based upon

Defendant's violations of Title III of the ADA.

                                               VENUE

            2.    Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b) (2) because

Defendant is a resident of this district and the facility, whose online reservation system is at issue

herein, is situated in this district.

                                             PARTIES

            3.   Plaintiff, David Poschmann, is an individual who is over eighteen years of age

and sui juris. Plaintiff is disabled as such term is defined by the ADA and is substantially limited
  Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 2 of 6 PageID 2




in performing one or more major life activities due to the amputation of his right leg in 2012.

Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially equipped vehicle and

has a valid disabled parking permit from the Florida Department of Highway Safety and Motor

Vehicles. Defendant's online lodging reservation system fails to comply with any of the

requirements of 28 C.F.R. §36.302(e) and therefore Plaintiff's full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations offered thereon are

restricted and limited because of Plaintiff’s disability and will be restricted in the future unless

and until Defendant is compelled to cure the substantive ADA violations contained on its online

reservation system. Plaintiff intends to visit the online reservation system for Defendant's place

of lodging in the near future, and within thirty (30) days, to book a vacation rental and utilize the

goods, services, facilities, privileges, advantages and/or accommodations being offered and/or to

test the online reservation system for compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the owner and operator of Anna Maria Island Dream Inn located at

2502 North Gulf Drive in Bradenton Beach, Florida (the “Dream”). The online reservation

system for the Dream is found at www.amidreaminn.com.

              CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

         5.    On July 26, 1990, Congress enacted the ADA explaining that the purpose of the

ADA was to provide a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities and to provide clear, strong, consistent,

enforceable standards addressing said discrimination, invoking the sweep of congressional

authority in order to address the major areas of discrimination faced day-to-day by people with

disabilities to ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).




                                                   2
    Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 3 of 6 PageID 3




            6.    Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

Department of Justice, Office of the Attorney General, published revised regulations for Title III

of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

requirements of the ADA. Public accommodations, including places of lodging, were required to

conform to these regulations on or before March 15, 2012.

            7.    On March 15, 2012, new regulations implementing Title III of the ADA took

effect, imposing significant new obligations on inns, motels, hotels and other "places of

lodging". 28 C.F.R. §36.302(e) states:

        ''(1) Reservations made by places of lodging. A public accommodation that owns, leases
(or leases to), or operates a place of lodging shall, with respect to reservations made by any
means, including by telephone, in-person, or through a third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can
make reservations for accessible guest rooms during the same hours and in the same manner
as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered through its
reservations service in enough detail to reasonably permit individuals with disabilities to assess
independently whether a given hotel or guest room meets his or her accessibility needs; 1
(iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all
other guest rooms of that type have been rented and the accessible room requested is the only
remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure
that the guest rooms requested are blocked and removed from all reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its reservations service is
held for the reserving customer, regardless of whether a specific room is held in response to
reservations made by others."



1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice's official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should
provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


                                                           3
  Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 4 of 6 PageID 4




        8. The Dream is a place of public accommodation that owns and/or leases and operates

a place of lodging pursuant to the ADA. The Dream has an online reservation system whereby

potential patrons may reserve a vacation rental. The reservation system is subject to the

requirements of 28 C.F.R.§ 36.302(e) and Defendant is responsible for said compliance.

        9.   Most recently, during April, 2021 Plaintiff attempted to specifically identify and

book a guaranteed reservation for an accessible vacation rental at the Dream through the

Dream’s online reservation system but was unable to do so due to Defendant's failure to comply

with the requirements set forth in paragraph 7.

       10.   Plaintiff is an advocate of the rights of similarly situated disabled persons and,

pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

places of public accommodation, including online reservation systems for places of lodging, are

in compliance with the ADA.

       11.   Defendant has discriminated against Plaintiff by denying him access to and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations

offered through the Dream’s online reservation system due to the substantive ADA violations

contained thereon.

       12. The online reservation system for the Dream encountered by Plaintiff when he

visited it failed to comply with any of the requirements of 28 C.F.R.§ 36.302(e)(1). When

Plaintiff visited the Dream’s online reservation system he tried to make a reservation for an

accessible vacation rental at the Dream, since he requires an accessible vacation rental due to the

amputation of his right leg, but it was not possible to make such a reservation. It was possible to

reserve a vacation rental that was not accessible. For this reason Defendant has no policy,




                                                  4
  Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 5 of 6 PageID 5




practice, or procedure in place to ensure that individuals with disabilities can make reservations

for accessible vacation rentals during the same hours and in the same manner as individuals who

do not need accessible vacation rentals. This constitutes a violation of 28 C.F.R.§

36.302(e)(1)(i). When Plaintiff visited the Dream’s online reservation system, he searched the

site for the identification and descriptions of accessible features at the Dream and vacation

rentals offered through the reservation service so that he could assess independently whether the

Dream or a specific vacation rental met his accessibility needs in light of his disability but the

reservation service contained no such descriptions at all. This constitutes a violation of 28

C.F.R.§ 36.302(e)(1)(ii). In light of the foregoing, Defendant also necessarily violated 28 C.F.R.

§36.302(e)(1)(iii)-(v) in that since the online reservation service does not describe any accessible

vacation rental, and does not, in turn, allow the reserving of such accessible vacation rental, the

Website cannot hold such unavailable accessible vacation rental in the reservation system until

all other units have been rented, block such unavailable accessible vacation rental from the

system once reserved, and guaranty that such unavailable accessible vacation rentals will be held

for the reserving customer as required by sections (iii) - (v) respectively.

      13. Plaintiff is without an adequate remedy at law and is suffering irreparable harm and

he reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendant is required to correct the ADA violations to the online reservation system for the

Dream and maintain the online reservation system and accompanying policies in a manner that is

consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

       14.   Plaintiff has retained the undersigned counsel for the filing and prosecution of this

action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

including litigation expenses and costs pursuant to 42 U.S.C. §12205.




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    Case 8:21-cv-01543-TPB-CPT Document 1 Filed 06/25/21 Page 6 of 6 PageID 6




        15. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

maintain its online reservation system in accordance with the requirements set forth in paragraph

7 above.2

         WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

injunction enjoining Defendant from continuing its discriminatory practices, ordering Defendant

to implement policies, consistent with the ADA, to accommodate the disabled, through requiring

Defendant to alter and maintain the online reservation system for the Dream in accordance with

the requirements set forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’

fees, litigation expenses, including expert fees, and costs.

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2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of its online reservation system. As rates and classes of vacation
rentals at the Dream, and the number and type of vacation rentals, beds, accommodations and amenities offered in
the various unit types change from time to time, the availability of accessible units must be re-dispersed across these
various price points, classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of
the foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the Dream, the
online reservation system must continuously be updated to properly reflect and describe Defendant's compliance
with the substantive ADA Standards regarding accessible vacation rentals in accordance with 28 C.F.R.
36.302(e)(1).


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